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WESTERN DIVISION §EE:ZQ PH |: 58

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UNITED STATES OF AMER_ICA

v. CR NO. 02-20165-D
ALVIN IRWIN MOSS, et al.,

Defendants.

 

ORDER REQUIRING APPEARANCE OF WITNESSES

 

This matter Was before the Court for an evidentiary hearing concerning pending dismissal
and other motions on July 21 and 22, 2005. After hearing the proof over the course of two days,
the Court continued the matter for additional hearings on August 10 and 11, 2005. At the
conclusion of the hearing on July 22, defense counsel made oral application to the Court for an
Order compelling the appearance of witnesses affiliated with the government for August 10 and
11, 2005.

Upon the oral application of the defendants, the proof heard by the Court on July 21 and
22, 2005, and the entirety of the record in this matter, it appears from the testimony and
documents introduced that employees of the government possess information and materials
relevant to the motions currently pending before the Court. Accordingly, for good cause shown,
it is hereby ORDERED that the following witnesses affiliated with the government are to appear
before the United States District Court, Western District of Tennessee, 167 North Main Street,

Memphis, Tennessee, at 9:00 A.M. on August 10, 2005:

Thls document entered on the docket sh D`S/

with Flu|e 55 and/or 32(b) FRCrP on t l

 

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John Asai, Special Agent
Federal Bureau of Investigation
CART Memphis, Tennessee

Parnela Vanderberg, Acting Supervisory Special Agent
Federal Bureau of Investigation
Mernphis, Tennessee

Kristi Chatham, Special Agent
Federal Bureau of Investigation
Memphis, Tennessee

Alton C. Taylor, Special Agent
Federal Bureau of Investigation
Memphis, Tennessee

David Kamel, Special Agent
Federal Bureau of Investigation

Mark Gant, Special Agent
Federal Bureau of lnvestigation

Steven McFall, Special Agent
Federal Bureau of Investigation

Ken Hart, Special Agent
Federal Bureau of Investigation
CART, Washington, D.C.

Carla Abramvitz, Special Agent
CART, Federal Bureau of Investigation

Clayton Goldsrnith, Special Agent
Federal Bureau of Investigation

Greg Stocksdale, Special Agent
Federal Bureau of Investigation
CART, Washington, D.C.

lack Lutkewitte, Special Agent
Federal Bureau of Investigation
CART, Washington, D.C.

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Melica A. Sanders, Special Agent
Evidence Technician

F ederal Bureau of Investigation
Joe Mann, III, Special Agent
Federal Bureau of Investigation
Memphis, Tennessee

Steven McFall, Special Agent
Federal Bureau of Investigation

Brian Burns, Special Agent
Federal Bureau of Investigation

In order to facilitate the most efficient use of the time set aside by the Court for the
hearings on August 10 and 11, 2005, it is further ORDERED that the witnesses are to produce to
both the government and counsel for Stacy Beavers, who will distribute to the remaining defense
counsel, the following documents and/or objects, to the extent the items are available to the
witnesses, by no later than August l, 2005:

l. Any and all memoranda, reports, or other like documents or items reflecting the
operations plan for conducting the search in Barbados in July 1996 and instructions for agents to
review and copy documents seized; and

2. Any and all memoranda, reports, e-Inails, or other like documents or items, in
either hardcopy or electronic format, reflecting the copying, analysis, retrieval, manipulation, or
other like examination of the electronic materials obtained from Barbados, Australia, and
elsewhere during the investigation of the instant case, including, but not limited to, the creation
of a searchable database of Barbados computer records for Federal Bureau of Investigation
Special Agent Pamela Vanderberg in Memphis.

3. Any and all evidence logs, “green” sheets, and chain of custody documents

pertaining to the electronic materials in this case.

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The appearance of the witness shall remain in effect until the witness is granted leave to
depart by the Court or by an officer acting on behalf of the Court. The government shall make
this Order and its contents known to the above Witnesses.

rr ls so oRDERED this the 53 é) day 0fJu1y,2005.

 

 

 

UNI ED STATES DISTRlCT JUDGE

 

July 29, 2005 to the parties listed

Notice of Distribution

This notice confirms a copy of the document docketed as number 573 in
case 2:02-CR-20165 was distributed by faX, mail, or direct printing on

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Honorable Bernice Donald
US DISTRICT COURT

